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                   8
                   9                             UNITED STATES DISTRICT COURT
              10                               CENTRAL DISTRICT OF CALIFORNIA
              11
                        CITY OF ALMATY,                           Case No. 14-cv-03650-FMO (FFMx)
              12                                                  Consolidated with Case No. 15-cv-02628-
                                           Plaintiff,             FMO
              13
                                v.                                Assigned To: Hon. Fernando M. Olguin
              14                                                  Magistrate Judge: Hon. Frederick F.
                        VIKTOR KHRAPUNOV, et al.,                 Mumm
              15
                                           Defendants.            PLAINTIFF’S MEMORANDUM RE:
              16                                                  NOMINATION OF SPECIAL
                                                                  MASTER
              17
                                                                  Declaration of Jonathan M. Jackson filed
              18                                                  concurrently herewith
              19                                                  Action Filed:   May 13, 2014
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                       US-DOCS\101548501                                  PLAINTIFF’S MEMORANDUM RE: NOMINATION OF
ATTORNEYS AT LAW
  LOS ANGELES                                                                                       SPECIAL MASTER
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                   1            In accordance with this Court’s Order dated May 24, 2018, regarding the
                   2 appointment of a Special Master (Dkt. No. 253) (the “Order”),1 Plaintiff City of
                   3 Almaty (“Almaty”) hereby submits the following candidates to be considered for
                   4 the appointment of Special Master to handle the current and future discovery issues
                   5 between the parties in this matter:2
                   6                 • Honorable Carla M. Woehrle (Ret.)
                   7                 • Honorable Jay C. Gandhi (Ret.)
                   8                 • Honorable Patricia L. Collins (Ret.)
                   9 Almaty believes that each of its proposed candidates is highly qualified to serve as
              10 Special Master in this matter. Each candidate has significant experience handling
              11 complex discovery matters in federal court as a Special Master and/or Magistrate
              12 Judge. Of particular note, Judge Woehrle served as the Magistrate Judge in this
              13 matter before her retirement, and thus is already familiar with the parties, the facts
              14 of the case, and the nature of discovery disputes between the parties. Descriptions
              15 of the candidates’ backgrounds and experience are provided below. Copies of the
              16 candidates’ resumes are attached as Exhibits A through C to the Declaration of
              17 Jonathan M. Jackson (the “Jackson Declaration”) filed concurrently herewith.
              18 I.             NOMINATIONS
              19                A.         Honorable Carla Woehrle
              20                Judge Woehrle is an ideal candidate to serve as Special Master in this case.
              21 Not only does Judge Woehrle have nearly 20 years of experience as a Magistrate
              22 Judge in the Central District of California, but prior to her retirement in 2015, she
              23 was the Magistrate Judge assigned to this matter. As a result, Judge Woehrle is
              24
              25        1
                        Almaty agrees with the Court that a Special Master is warranted here. In
              26 scheduledtoathe
                 addition        motions to compel identified in the Order, the parties also had
                              discovery conference before Magistrate Judge Mumm regarding issues
              27 related to the depositions of several defendants. Almaty is eager to have these
                 issues addressed, as well.
              28 2      Almaty has confirmed the availability of all three candidates.
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ATTORNEYS AT LAW
  LOS ANGELES                                                        1                                  SPECIAL MASTER
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                   1 already familiar with the various parties and factual allegations involved in this
                   2 case.
                   3            Judge Woehrle has a working understanding of the large number of
                   4 discovery requests that have been served in this matter and many of the discovery
                   5 disputes between the parties. For example, each of the following discovery
                   6 motions were before Judge Woehrle:
                   7                • Motion to Compel Production of Documents Responsive to
                   8                       Defendants’ First Set of Requests for Production of Documents (Dkt.
                   9                       No. 69)
              10                    • Plaintiff City of Almaty’s Opposition to Defendants’ Motion to
              11                           Compel Production of Documents Responsive to Defendants’ First
              12                           Set of Requests for Production of Documents (Dkt. No. 83)
              13                    • Plaintiff City of Almaty’s Motion to Compel Further Responses and
              14                           Production of Documents Responsive to Plaintiff’s Interrogatories
              15                           (Set One) and Requests for Production of Documents (Set One) by
              16                           Defendants (Dkt. No. 96)
              17                    • Defendants’ Motion to Compel Complete and Proper Responses to
              18                           Defendants’ First Set of Interrogatories (Dkt. No. 98)
              19 The parties argued these motions before Judge Woehrle on June 23, 2015. Judge
              20 Woehrle then ordered further meet and confer efforts between the parties. Dkt.
              21 No. 105. Thereafter, the parties submitted additional joint stipulations regarding
              22 the discovery negotiations. Dkt. Nos. 113, 115, and 118. Judge Woehrle set a
              23 discovery hearing for September 24, 2015 (Dkt. 121); however, the case was
              24 dismissed prior to the date of that hearing.
              25                Due to Judge Woehrle’s firsthand experience on this matter, she is highly
              26 qualified to serve as Special Master. Further, given her nearly 20 years of
              27 experience as a Magistrate Judge, Judge Woehrle has significant experience
              28 handling and ruling on discovery matters in federal court. If Judge Woehrle is
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ATTORNEYS AT LAW
  LOS ANGELES                                                           2                                   SPECIAL MASTER
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                   1 selected as Special Master, the parties will benefit from her past experience as the
                   2 Magistrate Judge assigned to this case. Furthermore, Judge Woehrle is likely to
                   3 require little guidance from the Court, thus ultimately serving the interest of
                   4 judicial economy. Judge Woehrle’s resume is attached as Exhibit A to the Jackson
                   5 Declaration.
                   6            B.         Honorable Jay C. Gandhi
                   7            Judge Gandhi also would be an excellent candidate to serve as Special
                   8 Master. Judge Gandhi began his career litigating high-stakes, complex matters and
                   9 became a partner at Paul Hastings LLP. Subsequently, Judge Gandhi served for
              10 eight years as a Magistrate Judge for the Central District of California. In that
              11 capacity, he obtained significant experience managing and ruling on discovery
              12 matters in federal court. Judge Gandhi currently serves as a mediator, arbitrator,
              13 special master and case evaluator for JAMS. He has a keen ability to distill
              14 complex facts and to facilitate efficient and just resolutions. As a result of Judge
              15 Gandhi’s time as a litigator, Magistrate Judge, and JAMS neutral, he has the
              16 experience and skills necessary to serve as Special Master in this case. Judge
              17 Gandhi’s resume is attached as Exhibit B to the Jackson Declaration.
              18                C.         Honorable Patricia L. Collins
              19                Judge Collins has the expertise to excel in the role of Special Master. Judge
              20 Collins has significant experience serving as a special master/discovery referee in
              21 federal cases. She enjoyed a 20-year career in the judiciary, including sixteen
              22 years as a California Superior Court Judge. Additionally, Judge Collins served as
              23 an Assistant United States Attorney in the Central District of California in the
              24 Major Frauds Unit, prosecuting bank and real estate fraud matters, and then as
              25 Chief of the Major Crimes Unit. She has experience handling and ruling on
              26 discovery matters in federal court, and possesses all of the necessary skills to serve
              27 as Special Master in this matter. Judge Collins’s resume is attached as Exhibit C to
              28 the Jackson Declaration.
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ATTORNEYS AT LAW
  LOS ANGELES                                                        3                                 SPECIAL MASTER
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                   1 II.        CONCLUSION
                   2            Judge Woehrle, Judge Gandhi and Judge Collins each have significant
                   3 experience handling complex discovery matters in federal court and are highly
                   4 qualified to serve as Special Master in this matter.
                   5
                   6 Dated: May 31, 2018                         LATHAM & WATKINS LLP
                   7                                             By    /s/ Jonathan M. Jackson
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                   8                                                  Jonathan M. Jackson
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ATTORNEYS AT LAW
  LOS ANGELES                                                     4                                   SPECIAL MASTER
